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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

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     (Admitted pro hac vice)
     ATTORNEYS FOR DEBTOR
     In re:                                                      Chapter 11
     LTL MANAGEMENT LLC,1                                        Case No.: 23-12825 (MBK)

                                Debtor.                          Judge: Michael B. Kaplan
     LTL MANAGEMENT LLC,
                                Plaintiff,
                                                                 Adv. No.: 23-01092 (MBK)
     v.

     THOSE PARTIES LISTED ON APPENDIX A TO
     COMPLAINT and JOHN AND JANE
     DOES 1 1000,
                       Defendants.
                                NOTICE OF AGENDA OF MATTERS
                        SCHEDULED FOR HEARING ON JUNE 22, 2023 AT 1:30 P.M.

     At the direction of the Court, the hearing will be held via Zoom only. All parties who intend to present
     argument should contact Chambers at chambers_of_mbk@njb.uscourts.gov and provide the name and
     email address of the speaker, as well as provide information regarding the party the speaker represents
                                       and/or the purpose of the appearance.
                  Parties are directed to https://www.njb.uscourts.gov/LTL for observing via Zoom.


 1
              The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
              501 George Street, New Brunswick, New Jersey 08933.




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 CONTESTED MATTERS GOING FORWARD IN THE ADVERSARY PROCEEDING:

 1.      Debtor’s Motion for a Bridge Order Confirming the Automatic Stay Applies to Certain
         Actions Asserted Against Affiliates or Temporarily Extending the Stay and Preliminary
         Injunction to Such Actions Pending a Final Hearing on the Requested Relief
         [Adv. Dkt. 147] (the “Motion for a Bridge Order”).

         Status: The Court previously heard argument on this matter at the June 2 and
         June 13, 2023 hearings and continued the hearing with respect to certain of the
         requested relief to June 22, 2023.

         Objection Deadline: June 9, 2023 at 5:00 p.m. The deadline for Cohen Placitella &
         Roth, P.C. (“CPR”) to object to the relief requested with respect to Janssen
         Pharmaceuticals, Inc. and Kenvue Inc. was extended to June 14, 2023, by consent of the
         parties.

         Related Documents:

         A.       Application for Order Shortening Time [Adv. Dkt. 148].

         B.       Order Granting the Application to Shorten Time [Adv. Dkt. 149].

         C.       CPR’s Objection to Order Granting Application to Shorten Time [Adv. Dkt. 151].

         D.       The Official Committee of Talc Claimants’ Objection to Order Granting
                  Application to Shorten Time [Adv. Dkt. 152].

         E.       Debtor’s Letter to the Court in Response to Objections to Order Granting the
                  Application to Shorten Time [Adv. Dkt. 153].

         F.       Debtor’s and CPR’s Joint Letter to Chief Judge Kaplan Regarding Agreed
                  Briefing and Hearing Schedule for Certain Matters Involving Cohen, Placitella &
                  Roth, P.C. [Adv. Dkt. 171] (the “Joint Letter”).

         Objections:

         G.       The Official Committee of Talc Claimants’ Objection to the Motion for a Bridge
                  Order [Adv. Dkt. 157].

         H.       MRHFM’s Objection to the Motion for a Bridge Order [Adv. Dkt. 158].

 2.      Debtor’s Motion (I) to Extend and Modify the Preliminary Injunction Order and (II) for
         Confirmation that Successor Liability Actions Are Subject to the Automatic Stay [Adv.
         Dkt. 163] (the “Motion to Extend”).

         Status: The Court previously heard argument on this matter at the June 13, 2023
         hearing and extended the preliminary injunction to August 22, 2023. The Court



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         continued the hearing with respect to certain of the requested relief to
         June 22, 2023.

         Objection Deadline: June 9, 2023 at 5:00 p.m. The deadline for CPR to object to the
         relief requested with respect to Janssen Pharmaceuticals, Inc. and Kenvue Inc. was
         extended to June 14, 2023, by consent of the parties.

         Related Documents:

         A.       Application for Order Shortening Time [Adv. Dkt. 164].

         B.       Order Shortening Time Period for Notice, Setting Hearing and Limiting Notice
                  [Adv. Dkt. 165].

         C.       CPR’s Letter to the Court in Response to the Order Shortening Time Period for
                  Notice, Setting Hearing and Limiting Notice [Adv. Dkt. 166].

         D.       Debtor’s Letter to the Court in Response to CPR’s Letter in Response to the Court
                  Order Granting the Application to Shorten Time [Adv. Dkt. 167].

         E.       The Joint Letter.

         F.       Ad Hoc Committee of Supporting Counsel’s Statement in Support the Motion to
                  Extend [Adv. Dkt. 175].

         G.       Debtor’s Reply in Support of the Motion to Extend [Adv. Dkt. 185]

         Objections:

         H.       The Official Committee of Talc Claimants’ Objection to the Motion to Extend
                  [Adv. Dkt. 169].

         I.       The United States Trustee’s Objection to the Motion to Extend [Adv. Dkt. 170].

         J.       Creditors, Marlin & Georgia Eagles’ Informational Brief Regarding Its Upcoming
                  July 24, 2023, Talc Trial Involving J&J [Adv. Dkt. 174].

         K.       MRHFM’s Objection to the Motion to Extend [Adv. Dkt. 177].

         L.       CPR’s Objection to the Motion to Extend [Adv. Dkt. 180].

         M.       Paul Crouch’s Objection to the Motion to Extend [Adv. Dkt. 187]

         N.       TCC’s Supplemental Objection to the Motion to Extend [Adv. Dkt. 189].




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  Dated: June 20, 2023                         WOLLMUTH MAHER & DEUTSCH LLP

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